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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Jose Cruz
                                   Plaintiff,
v.                                                     Case No.: 1:23−cv−04268
                                                       Honorable Jeremy C. Daniel
Reynaldo Guevara, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 14, 2024:


         MINUTE entry before the Honorable Gabriel A. Fuentes: Hearing held on
plaintiff's motion to compel deposition transcript production (doc. #[195]). For the reasons
stated on the record, the motion is granted in part, denied in part, and denied without
prejudice in part. Plaintiff's request for all 30(b)(6) deposition transcripts in the matters
listed in Request No. 2 is granted. The request for sanctions is denied. The remainder of
the motion is denied without prejudice pending further conferral between parties.
Plaintiff's counsel is directed to file any additional exhibits used during today's hearing on
the docket as soon as possible. Mailed notice. (lxk, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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